                Case:
ILND 450 (Rev. 10/13)    3:22-cv-50001
                      Judgment in a Civil Action   Document #: 45 Filed: 01/13/23 Page 1 of 1 PageID #:175

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

    Errika Brown,

    Plaintiff,
                                                                     Case No. 22 C 50001
    v.                                                               Judge Philip G. Reinhard

    S.C. Johnson & Son, Inc.,

    Defendant.

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

           Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

           Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
           Defendant(s) shall recover costs from plaintiff(s).


                    other: This case is dismissed with prejudice.

This action was (check one):

      tried by a jury with Judge      presiding, and the jury has rendered a verdict.
      tried by Judge      without a jury and the above decision was reached.
     decided by Judge Philip G. Reinhard to dismiss case with prejudice.



Date: 1/13/2023                                                  Thomas G. Bruton, Clerk of Court

                                                                 /s. Rhonda Jones , Deputy Clerk
